     Case 2:20-cv-03678-RGK-PLA Document 22 Filed 08/06/20 Page 1 of 2 Page ID #:124




 1    SO. CAL. EQUAL ACCESS GROUP
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 3
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 6    Attorneys for Plaintiff
      CLIFTON WALKER
 7
 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
      CLIFTON WALKER,                                   Case No.: 2:20-cv-03678-RGK (PLAx)
11
12                 Plaintiff,
13          vs.                                         NOTICE OF VOLUNTARY
                                                        DISMISSAL OF ENTIRE ACTION
14                                                      WITH PREJUDICE
      ENRIQUE PACHECO D/B/A E & M
15    MEAT MARKET; L & B REAL ESTATE,
16    A CALIFORNIA LIMITED
      PARTNERSHIP; and DOES 1 to 10,
17
18                 Defendants.
19
20
            PLEASE TAKE NOTICE that CLIFTOWN WALKER
21
       (“Plaintiff”) pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby
22
      voluntarily dismisses the entire action with prejudice pursuant to Federal Rule of Civil
23
      Procedure Rule 41(a)(1) which provides in relevant part:
24
            (a) Voluntary Dismissal.
25
                   (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
26
                          and any applicable federal statute, the plaintiff may dismiss an action
27
28
                          without a court order by filing:


                                                    1
           NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
     Case 2:20-cv-03678-RGK-PLA Document 22 Filed 08/06/20 Page 2 of 2 Page ID #:125




 1                       (i)   A notice of dismissal before the opposing party serves either an
 2                             answer or a motion for summary judgment.
 3    None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 4    summary judgment. Accordingly, this matter may be dismissed without an Order of the
 5    Court.
 6
 7    DATED: August 6, 2020          SO. CAL. EQUAL ACCESS GROUP
 8
 9                                   By:      /s/ Jason J. Kim
10                                         Jason J. Kim, Esq.
                                           Attorneys for Plaintiff
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           NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
